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April 1, 2025

VIA ECF

The Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:      United States v. Trevor Milton, 21-cr-478 (ER)

Dear Judge Ramos:

        We write in response to the Court’s request for a joint status letter regarding the pardon
recently issued to Defendant Trevor Milton by President Donald Trump and its impact on
applications currently pending before the Court.

        On March 27, 2025, President Trump issued Mr. Milton “A Full and Unconditional
Pardon,” including “remission of any and all fines, penalties, forfeitures, and restitution ordered
by the court” in this action. The pardon, which Mr. Milton has accepted, “reaches both the
punishment prescribed for the offence and the guilt of the offender; and when the pardon is full,”
as is the case here, “it releases the punishment and blots out of existence the guilt, so that in the
eye of the law the offender is as innocent as if he had never committed the offence.” Ex parte
Garland, 71 U.S. 333, 380 (1866). Thus, the pardon covers the financial aspects of the
conviction such as the pending request for restitution, as well as all other penalties. A true and
correct copy of the pardon is attached as Exhibit A.

         We have consulted with government counsel, and the parties agree that Mr. Milton’s
pending motion for a new trial on Count Four (Dkt. 344) and the government’s request for
restitution (Dkt. 361) are both now moot and need not be resolved by the Court. The parties will
jointly move in the Second Circuit to dismiss the appeal as moot. The parties also agree that,
given the pardon, the Court should exonerate Mr. Milton’s bail, including any liens on property
posted in connection with his bail, and direct the government and/or pretrial services to return
Mr. Milton’s passport. In addition, Mr. Milton is entitled to the return of the $300 special
assessment, which he has paid to the Court.
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Hon. Edgardo Ramos
April 1, 2025
                                   Respectfully submitted,


                                   /s/ Alexandra A.E. Shapiro
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cc:   All counsel (by ECF)
